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                                              AFFIDAVIT

                 This affidavit is given under penally of perjury by MARIA JULIANA

        DIMARCO GOMEZ who swears or affirms that the following is true,

                 1.     My name is MARIA JULIANA DIMARCO GOMEZ and I am the wife of

        ENRIQUE PUYANA.

                 2.     On October 15. 2010 1 went to the United States Embassy in Bogota.

        Colombia with my husband ENRIQUE PUYANA seeking the issuance of a visa for our

        son.

                 3.     The consular official that interviewed us was confused and/or

        misinformed about who my husband was. He asked what my husband did for a living

        and if he owned clothing stores. In fact, it is my father who owns clothing stores.

                 4.     The consular official subsequently asked, as if there were some confusion,

        ;'What   do you mean, your husband isn't Mr. Victor DiMarco?" I clarified that Victor

        DiMarco was my father and Enrique Puyana was my husband. He then, made some notes

        and told us that our request would be reviewed and we would later be informed of their

        decision.

                 5.     On October 15,2010 the U.S. Embassy called me and asked that I come to

        the Embassy with my husband and our passports. On this occasion my husband was

        asked if we were legally married and for how long. Later, he asked Enrique if he had

        problems with the law. When my husband told the consul he never had any legal

        problems, the consul made some notes and then told us that it appears that Enrique has a
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       serious legal problem. He recommended that we consult an attorney. At that point he

       returned our passports and Enrique's visa had been revoked.

               6.      Subsequently we were given a paper which said that Enrique's visa had

       been revoked because of violation of Section 212 (a)(2) C l . Our lawyer explained that

       this section of the Act relates to drug trafficking.

                  7.   I specifically acknowledge that this affidavit is made under penalty of

       perjury.

       FURTHER AFFIANT' SAYETK NAUGHT.




        MARIA JULIANA DIMARCO COMGZ
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                                             AFFIDAVIT

               This affidavit is given under penalty of perjury by ENRIQUE PUYANA

       MANTILLA who swears or affirms that the following is true.

               1.     My name is ENRIQUE PUYANA MANTILLA and 1 am the Petitioner in

       this case.

               2.     On October 15, 201.0 I went to the United States Embassy in Bogota.

       Colombia with my wife. Maria Julian Dimarco Gomez, seeking the issuance of a visa for

       our son.

               3.     The consular official that interviewed us was confused and/or

       misinformed about who my I was. He asked what my wife's husband did for a living and

       if he owned clothing stores. In fact, it is my father-in-law who owns clothing stores.

               4.     The consular official subsequently asked, as if there were some confusion,

       "What do you mean, your husband isn't Mr. Victor DiMarco?" My wife clarified that

       Victor DiMarco was her father and Enrique Puyana was her husband. The consul then

       made some notes and told us that our request would be reviewed and we would later be

       informed of their decision.

               5.     On October 15, 2010 the U.S. Embassy called us and asked that we come

       to the Embassy with our passports. On this occasion 1 was asked by the consular official

       if Juliana and [ were legally married and for how long. Later, he asked rne if he had

       problems with the law. When my I told the consul I never had had any legal problems,

       he made some notes and then told us that it appears that ] have a serious legal problem.
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       He recommended that we consult an attorney. At that point he returned our passports and

       my visa and that of my young daughter Manuela had been revoked.

              6.       Subsequently we were given a paper which said that our visas had been

       revoked because of violation of Section 212 (a)(2) Cl. Our lawyer explained that this

       section of the Act relates to drug trafficking.

                  7.   I specifically acknowledge that this affidavit is made under penalty of

       perjury.
                             /
       FURTHER AFFIANT SA^JETH NAUGHT.




       ENRIQUE PUYANA MANTILLA
